      Case 4:22-cv-00302-RH-MAF Document 85 Filed 10/17/22 Page 1 of 1




                   United States District Court
                            CIVIL MINUTES - GENERAL

Date: October 17, 2022                                        Case No.: 4:22cv302-RH
Time: 3:30 – 4:24 p.m.

                         ANDREW H. WARREN v. RON DESANTIS


DOCKET ENTRY: Telephonic Motion Hearing held. Court hears argument of counsel on
plaintiff’s motion to compel. An order is forthcoming.
______________________________________________________________________________


PRESENT:     ROBERT L. HINKLE, U. S. DISTRICT JUDGE


              Cindy Markley                    Megan Hague
              Deputy Clerk                 Official Court Reporter

______________________________________________________________________________
ATTORNEYS APPEARING FOR PLAINTIFF:
Jean-Jacques Cabou
Margo Casselman
Alexandra Swain
David O’Neil
Samantha Singh


ATTORNEYS APPEARING FOR DEFENDANT:
George Levesque
Jeffrey Aaron
James Percival
Jeffrey DeSousa
David Costello
